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AO 245B (CASDRev. 01/19) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                                                      (For Revocation of Probation or Supervised Release)
                               V.                                     (For Offenses Committed On or After November I, 1987)

                    ABRAM ROBLES (I)                                     Case Number:        18CR2303-H

                                                                      Marc Xavier Carlos
                                                                      Defendant's Attorney
Registration Number: 55762-298

•·
THE DEFENDANT:
l:zl admitted guilt to violation ofallegation(s) No.        I.
D    was found guilty in violation ofallegation(s) No.
                                                          - - - - - - - - - - - - after denial of guilty.
Accordingly, the court has ac(judicated that the defendant is guilty of the following allegation(s):

Allegation Number                   Nature of Violation
               I                    nv I, Committed a federal, state or local offense




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.                                        ·
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                      June I, 2020
                                                                     .Date of Imposition of Sentence



                                                                       ffiAM~ L.4 ~
                                                                      HONORABE MARILYN~ F F
                                                                      UNITED STATES DISTRICT WDGE

                   FILED
                   JUN - 2 2020

          CLERK US DIS I HIC I COURT
      SOUTHERN DISTRICT O9,CAJ,lFORNIA
      BY                        - EPUTY

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                Case 3:18-cr-02303-H Document 47 Filed 06/02/20 PageID.99 Page 2 of 2

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     AO 245B (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

     DEFENDANT:              ABRAM ROBLES(!)                                                            Judgment - Page 2 of 2
     CASE NUMBER:            18CR2303-H

                                                      IMPRISONMENT
      The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
      12 MONTHS AS FOLLOWS:
      I MONTH TO RUN CONSECUTIVE TO THE SENTENCE IMPOSED IN S.D. CAL. CASE NO. 20CR0098-H.
      11 MONTHS TO RUN CONCURRENT WITH THE SENTENCE IMPOSED IN S.D. CAL. CASE NO. 20CR0098-H.




      •     The court makes the following recommendations to the Bureau of Prisons:




      •     The defendant is remanded to the custody of the United States Marshal.

      •     The defendant must surrender to the United States Marshal for this district:

            •     at _ _ _ _ _ _ _ _ _ A.M.                        on

            •     as notified by the United States Marshal.

            The defendant must surrender for service of sentence at the institution designated by the Bureau of
      •     Prisons:
            •     on or before
            •     as notified by the United States Marshal.
            •     as notified by the Probation or Pretrial Services Office.

                                                             RETURN
      I have executed this judgment as follows:

            Defendant delivered on                                            to
                                                                                   ----------------
      at - - - - - - - - ~ - - - , with a certified copy of this judgment.


                                                                        UNITED STATES MARSHAL



                                          By                     DEPUTY UNITED STATES MARSHAL




                                                                                                                18CR2303-H
